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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


THE TRAVELERS INDEMNITY
COMPANY,

       Plaintiff,

v.                                                    Case No.

W.M. BARR & COMPANY, INC.,
COMMERCIAL UNION INSURANCE CO.,
WESTPORT INSURANCE CO.,
ADMIRAL INSURANCE CO.,
LIBERTY MUTUAL INSURANCE CO.,
NATIONAL UNION FIRE INSURANCE
CO. OF PITTSBURGH, PA.,
ZURICH AMERICAN INSURANCE CO.,
STEADFAST INSURANCE CO.,
NORTH AMERICAN CAPACITY
INSURANCE CO.,
LEXINGTON INSURANCE CO.,
DOES 1 through 10,

       Defendants.


                                    COMPLAINT


       The Travelers Indemnity Company, by its undersigned attorneys, files this

Complaint against W.M. Barr & Company, Inc., Commercial Union Insurance Company,

Westport Insurance Company, Admiral Insurance Company, Liberty Mutual Insurance

Company, National Union Fire Insurance Company of Pittsburgh, Pa., Zurich American




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Insurance Company, Steadfast Insurance Company, North American Capacity Insurance

Company, Lexington Insurance Company, and Does 1 through 10, and states:

                                         PARTIES

       1.       Plaintiff The Travelers Indemnity Company ("Travelers") is a Connecticut

corporation with its principal place of business in Hartford, Connecticut.

       2.       Defendant W.M. Barr & Company, Inc. ("W.M. Barr") is a Tennessee

corporation with its principal place of business in Memphis, Tennessee.

       3.       Defendant Commercial Union Insurance Company ("Commercial Union")

is a Massachusetts corporation with its principal place of business in Boston,

Massachusetts.

       4.       Defendant Westport Insurance Company ("Westport") is a Missouri

corporation with its principal place of business in Overland Park, Kansas.

       5.       Defendant Admiral Insurance Company ("Admiral") is a Delaware

corporation with its principal place of business in Cherry Hill, New Jersey.

       6.       Defendant Liberty Mutual Insurance Company ("Liberty Mutual") is a

Massachusetts corporation with its principal place of business in Boston, Massachusetts.

       7.       Defendant National Union Fire Insurance Company of Pittsburgh, Pa.

("National Union") is a Pennsylvania corporation with its principal place of business in

New York, New York.

       8.       Defendant Zurich American Insurance Company ("Zurich American") is a

New York corporation with its principal place of business in Schaumburg, Illinois.




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       9.       Defendant Steadfast Insurance Company ("Steadfast") is a Delaware

corporation with its principal place of business in Schaumburg, Illinois.

       10.      Defendant North American Capacity Insurance Company ("North

American") is a New Hampshire corporation with its principal place of business in

Manchester, New Hampshire.

       11.      Defendant Lexington Insurance Company ("Lexington") is a Delaware

corporation with its principal place of business in Boston, Massachusetts.

       12.      Does 1 through 10 are fictitious names for one or more unidentified

insurance companies that issued general liability policies to W.M. Barr.

                                       JURISDICTION

       13.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)

because this action is between citizens of different states, and because the amount in

controversy is in excess of $75,000, exclusive of interest and costs.

       14.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a) because

W.M. Barr's principal place of business is in Memphis, Tennessee.

                                            FACTS

                                         The Policies

       15.      Travelers issued the following general liability policies ("the Travelers

Policies") to W.M. Barr at W.M. Barr's Tennessee headquarters:

                a.      620-327A444-2-IND73, effective 5/23/1973 to 6/1/1974;

                b.      650-131B460-4-IND74, effective 6/1/1974 to 6/1/1975;

                c.      650-131B460-4-IND75, effective 6/1/1975 to 6/1/1976; and


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                d.      650-131B460-4-IND76, effective 6/1/1976 to 5/4/1977.

       16.      On information and belief, Commercial Union issued general liability

policies to W.M. Barr effective 5/23/1965 to 5/23/1970.

       17.      On information and belief, Westport (as successor to Puritan Insurance

Company) issued general liability policies to W.M. Barr, effective 5/4/1977 to 5/1/1979.

       18.      On information and belief, Admiral issued general liability policies to

W.M. Barr, effective 5/1/79 to 10/1/1983.

       19.      On information and belief, Liberty Mutual issued general liability policies

to W.M. Barr effective 10/1/1983 to 8/1/1987.

       20.      On information and belief, W.M. Barr self-insured for general liability for

the period 8/1/1987 to 8/1/1988.

       21.      On information and belief, Home Insurance Company, an insolvent insurer

not a party to this action, issued general liability policies to W.M. Barr effective 8/1/1988

to 8/1/1990.

       22.      On information and belief, National Union issued general liability policies

to W.M. Barr effective 8/1/1990 to 8/1/1994.

       23.      On information and belief, Zurich American issued a general liability

policy to W.M. Barr effective 8/1/1994 to 8/1/1995.

       24.      On information and belief, Steadfast issued a general liability policy to

W.M. Barr effective 8/1/1995 to 8/1/1996.

       25.      On information and belief, North American issued general liability policies

to W.M. Barr effective 8/1/1997 to 3/21/2000.


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       26.      On information and belief, Lexington issued a CGL policy to W.M. Barr

effective 3/27/2000 to 8/1/2001.

       27.      On information and belief, Does 1 through 10 issued general liability

insurance policies to W.M. Barr for the periods 5/23/1970 to 5/23/1973, 8/1/1996 to

8/1/1997, and 8/1/2001 to the present.

       28.      On information and belief, all of the insurance policies identified in the

preceding paragraphs were issued to W.M. Barr at its Tennessee headquarters.

                                    The Underlying Claims

       29.      W.M. Barr is or was a defendant in numerous lawsuits ("the Underlying

Claims") alleging certain injuries arising from exposure to, or the release of, certain

chemicals, primarily benzene, contained in certain of W.M. Barr's products. It is alleged

that these injuries occurred over various periods of time.

       30.      W.M. Barr has demanded that Travelers pay 100% of W. M. Barr’s defense

and indemnity costs and expenses with respect to certain of the Underlying Claims.

       31.      Travelers has agreed to participate in W. M. Barr’s defense of certain of the

Underlying Claims while reserving its rights as to any indemnity obligations, if any, that

it may have.

             COUNT I – Declaration as to Coverage Under the Travelers Policies

       32.      Travelers incorporates by reference the allegations of all previous

paragraphs of this Complaint.

       33.       Each of the Travelers Policies by its terms applies only to "bodily injury"

or "property damage" that occurs during its policy period. On information and belief,


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each of the policies set forth in paragraphs 12 through 20 also applies by its terms only to

"bodily injury" and "property damage" that occurs during the policy period.

       34.      To the extent that any of the Underlying Claims do not allege claims for

"bodily injury" or "property damage" during the period that the Travelers Policies were in

effect, Travelers has no obligation to defend W.M. Barr for those Underlying Claims.

       35.      To the extent that any of the individuals that have brought Underlying

Claims against W.M. Barr have not suffered "bodily injury" or "property damage" during

the period that the Travelers Policies were in effect, Travelers has no obligation to

indemnify W.M. Barr for those Underlying Claims.

       36.      To the extent that any of the Underlying Claims allege claims for "bodily

injury" or "property damage" both during and outside the Travelers policy period,

Travelers is only obligated to pay its appropriate share of any such defense costs.

       37.      To the extent that any of the individuals that have brought Underlying

Claims against W.M. Barr have suffered "bodily injury" or "property damage" both

during and outside of the Travelers policy period, Travelers is only obligated to pay its

appropriate share of any such indemnity costs that are otherwise properly recoverable by

W.M. Barr.

       38.      An actual and justiciable controversy exists between W.M. Barr and

Travelers regarding the way in which the coverage available under the Travelers Policies,

if any, applies to the Underlying Claims.

       WHEREFORE, Travelers respectfully requests that the Court enter judgment (1)

declaring the rights of W.M. Barr and Travelers under the Travelers Policies concerning


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the Underlying Claims, and (2) granting such other and further relief as justice may

require.

                                  COUNT II – Contribution

       39.      Travelers incorporates by reference the allegations of all previous

paragraphs of this Complaint.

       40.      W.M. Barr asserts that its insurers are obligated to defend and indemnify

W. M. Barr with respect to the Underlying Claims. To the extent that W. M. Barr is

entitled to a defense with respect to the Underlying Claims and/or to be indemnified with

respect to the Underlying Claims, Travelers, W.M. Barr, and the other insurer defendants

are each obligated to pay such costs consistent with their respective time on the risk.

       41.      Travelers is only obligated to pay costs incurred by W.M. Barr to defend

lawsuits alleging "bodily injury" or "property damage" that occurred during a Travelers

policy period. W.M. Barr has demanded that Travelers pay all of its defense costs for

certain Underlying Claims. To the extent that it is determined that Travelers is initially

obligated to pay all of the defense costs with respect to any Underlying Claim where it is

alleged that the "bodily injury" or "property damage" occurred during periods other than

a Travelers policy period, Travelers is under common obligation with, and is entitled to

contribution from, the other insurer defendants.

       42.      Travelers is only obligated to pay costs incurred by W.M. Barr to defend

lawsuits alleging "bodily injury" or "property damage" that occurred during a Travelers

policy period. W.M. Barr has demanded that Travelers pay all of its defense costs for

certain Underlying Claims. To the extent that it is determined that Travelers is initially


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obligated to pay all of the defense costs with respect to any Underlying Claim where it is

alleged that the "bodily injury" or "property damage" occurred during periods other than

a Travelers policy period, Travelers is under common obligation with, and is entitled to

contribution from, W.M. Barr for periods when it was self-insured or uninsured,

including periods when policies issued by unknown or insolvent insurers were in effect.

       43.      Travelers is only obligated, subject to all of the terms, conditions and

exclusions of the Travelers Policies, to indemnify W.M. Barr for claims for "bodily

injury" or "property damage" that occurred during a Travelers policy period. W.M. Barr

has demanded that Travelers fully indemnify it for certain Underlying Claims. To the

extent that it is determined that Travelers is obligated to indemnify W.M. Barr with

respect to any Underlying Claim where the "bodily injury" or "property damage"

occurred during periods other than a Travelers policy period, Travelers is under common

obligation with, and is entitled to contribution from, the other insurer defendants.

       44.      Travelers is only obligated, subject to all of the terms, conditions and

exclusions of the Travelers Policies, to indemnify W.M. Barr for claims for "bodily

injury" or "property damage" that occurred during a Travelers policy period. W.M. Barr

has demanded that Travelers fully indemnify it for certain Underlying Claims. To the

extent that it is determined that Travelers is obligated to indemnify W.M. Barr with

respect to any Underlying Claim where the "bodily injury" or "property damage"

occurred during periods other than a Travelers policy period, Travelers is under common

obligation with, and is entitled to contribution from, W.M. Barr for periods when it was




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self-insured or uninsured, including periods when policies issued by unknown or

insolvent insurers were in effect.

       WHEREFORE, Travelers respectfully requests that the Court: (1) enter judgment

in favor of Travelers and against W.M. Barr, Commercial Union, Westport, Admiral,

Liberty Mutual, National Union, Zurich American, Steadfast, North American,

Lexington, and Does 1 through 10 in an amount equal to each defendant's appropriate

share of the cost of defending W.M. Barr against the Underlying Claims; (2) enter

judgment in favor of Travelers and against W.M. Barr, Commercial Union, Westport,

Admiral, Liberty Mutual, National Union, Zurich American, Steadfast, North American,

Lexington, and Does 1 through 10 in an amount equal to each defendant's appropriate

share of the cost of indemnifying W.M. Barr against the Underlying Claims, if any; and

(3) granting Travelers such other and further relief as justice may require.




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       Dated: September 30, 2008

                                   Respectfully submitted,

                                   CHAMBLISS, BAHNER & STOPHEL, P.C.

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